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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                  CASE:

  CARLOS BRITO,

              Plaintiff,
  v.

  GPT NW 42ND AVENUE OWNER II LLC
  and RER OUTDOOR MARKETPLACE
  LLC,

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues GPT NW 42ND AVENUE OWNER II

  LLC and RER OUTDOOR MARKETPLACE LLC, (hereinafter “Defendants”), and as grounds

  alleges:

                               JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, with a
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  residence in Miami-Dade County, Florida, and is otherwise sui juris.

          5.       At all times material, Defendant, GPT NW 42ND AVENUE OWNER II LLC,

  owned and/or operated a commercial outdoor market located at 12691 NW 42nd Ave Opa-locka,

  Florida 330541 (hereinafter the “Commercial Property”) and conducted a substantial amount of

  business in that place of public accommodation in Miami Dade County, Florida.

          6.       At all times material, Defendant, GPT NW 42ND AVENUE OWNER II LLC, was

  and is a Foreign Limited Liability Company, organized under the laws of the State of Delaware,

  with its principal place of business in New York, New York.

          7.       At all times material, Defendant, RER OUTDOOR MARKETPLACE LLC, INC.,

  owned and/or operated a commercial restaurant at 12705 NW 42nd Ave Opa-locka, Florida 330542

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Opa-locka, Florida. Defendant, RER OUTDOOR

  MARKETPLACE LLC, INC., holds itself out of the public as “Opa Locka Hialeah Flea Market.”

          8.       At all times material, Defendant, RER OUTDOOR MARKETPLACE LLC, INC,

  INC., was and is a Foreign Limited Liability Company, incorporated under the laws of the State

  of Delaware, with its principal place of business in Coral Gables, Florida.

          9.       Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Broward County, Florida, Defendants regularly conduct



  1
    The Property at issue here encompasses two parcels and addresses including 12691 NW 42nd Ave Opa-locka, Florida
  33054 and 12705 NW 42nd Ave Opa-locka, Florida 33054. The Parcels share common elements including signage,
  parking and entrances from the public right of way and are owned and operated by landlord Defendant, GPT NW
  42ND AVENUE OWNER II LLC.
  2
    The Property at issue here encompasses two parcels and addresses including 12691 NW 42nd Ave Opa-locka, Florida
  33054 and 12705 NW 42nd Ave Opa-locka, Florida 33054. The Parcels share common elements including signage,
  parking and entrances from the public right of way and are owned and operated by landlord Defendant, GPT NW
  42ND AVENUE OWNER II LLC.
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  business within Broward County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Broward County, Florida.

                                         FACTUAL ALLEGATIONS

          10.     Although over twenty-eight (28) years have passed since the effective date of Title

  III of the ADA, Defendants have yet to make its facilities accessible to individuals with

  disabilities.

          11.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendants continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ businesses and

  properties.

          12.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

          13.     Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

  from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

  his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires

  the use of a wheelchair to ambulate.

          14.     Defendant, GPT NW 42ND AVENUE OWNER II LLC, owns, operates and/or

  oversees the Commercial Property, its general parking lot and parking spots.

          15.     The subject Commercial Property is open to the public and is located in Opa-locka,

  Florida.


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         16.     The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include visits to the Commercial Property and

  businesses located within the Commercial Property on or about July 14, 2021 and encountered

  multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial

  Property and businesses located therein. He often visits the Commercial Property and businesses

  located within the Commercial Property in order to avail himself of the goods and services offered

  there, and because it is approximately twenty-four (24) miles from his residence, and is near other

  businesses and restaurants he frequents as a patron. He plans to return to the Commercial Property

  and the businesses located within the Commercial Property within two (2) months of the filing of

  this Complaint, specifically on or before March 14, 2022.

         17.     Plaintiff resides nearby in the same County and state as the Commercial Property

  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his residence and other businesses that he

  frequents as a patron, and intends to return to the Commercial Property and businesses located

  within the Commercial Property within two (2) months from the filing of this Complaint,

  specifically on or before March 14, 2022.

         18.     The Plaintiff found the Commercial Property, and the businesses located within

  the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         19.     The Plaintiff has encountered architectural barriers that are in violation of the ADA


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  at the subject Commercial Property, and businesses located within the Commercial Property. The

  barriers to access at the Commercial Property, and the businesses located within the Commercial

  Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

  businesses located within the Commercial Property, and have endangered his safety in violation

  of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of

  injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others similarly

  situated.

          20.    Defendants, GPT NW 42ND AVENUE OWNER II LLC and RER OUTDOOR

  MARKETPLACE LLC, own and/or operate a place of public accommodation as defined by the

  ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendants,

  GPT NW 42ND AVENUE OWNER II LLC and RER OUTDOOR MARKETPLACE LLC, are

  responsible for complying with the obligations of the ADA. The place of public accommodation

  that Defendants, GPT NW 42ND AVENUE OWNER II LLC and RER OUTDOOR

  MARKETPLACE LLC, own and operate the Commercial Property Business located at 12691

  NW 42nd Ave Opa-locka, Florida 33054.

          21.    Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

  of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Counts I through II of this Complaint.

  Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

  at the Commercial Property, and businesses located within the Commercial Property, in violation

  of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not


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  only to avail himself of the goods and services available at the Commercial Property, and

  businesses located within the Commercial Property, but to assure himself that the Commercial

  Property and businesses located within the Commercial Property are in compliance with the ADA,

  so that he and others similarly situated will have full and equal enjoyment of the Commercial

  Property, and businesses located within the Commercial Property without fear of discrimination.

         22.     Defendant, GPT NW 42ND AVENUE OWNER II LLC, as landlord and owner of

  the Commercial Property Business, is responsible for all ADA violations listed in Counts I

  through II.

         23.     Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

  of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

  necessarily limited to the allegations in Counts I through II of this Complaint. Plaintiff has

  reasonable grounds to believe that he will continue to be subjected to discrimination at the

  Commercial Property, and businesses within the Commercial Property, in violation of the ADA.

  Plaintiff desires to visit the Commercial Property and businesses within the Commercial Property,

  not only to avail himself of the goods and services available at the Commercial Property and

  businesses located within the Commercial Property, but to assure himself that the Commercial

  Property, and businesses located within the Commercial Property are in compliance with the

  ADA, so that he and others similarly situated will have full and equal enjoyment of the

  Commercial Property, and businesses located within the Commercial Property without fear of

  discrimination.

         24.     Defendants have discriminated against the individual Plaintiff by denying him


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  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and businesses located within the

  Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                COUNT I – ADA VIOLATIONS
                         AS TO GPT NW 42ND AVENUE OWNER II LLC.

           25.    The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  24 above as though fully set forth herein.

           26.    Defendant, GPT NW 42ND AVENUE OWNER II LLC, has discriminated, and

  continues to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have

  accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer

  employees and gross receipts of $500,000 or less).            A list of the violations that Plaintiff

  encountered during his visit to the Commercial Property, include but are not limited to, the

  following:

      A. Parking

    i.     There are accessible parking spaces that do not provide signs designating them as

           accessible, violating Section 4.6.4 of the ADAAG and Section 502.6 of the 2010 ADA

           Standards, whose resolution is readily achievable.

     ii.   The plaintiff had difficulty accessing the facility, as there are designated accessible

           parking spaces located too far from an accessible route to the facility. Violation: Some of

           the accessible parking spaces are not located on the shortest route to an accessible entrance,

           violating Section 4.6.2 of the ADAAG and Section 208.3.1 of the 2010 ADA Standards,

           whose resolution is readily achievable.

    iii.   The plaintiff had difficulty accessing the facility, as there are sections without designated

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          accessible parking spaces. Violation: Accessible parking spaces are not dispersed and

          located closest to accessible entrances, violating Section 4.6.2 of the ADAAG and Section

          208.3.1 of the 2010 ADA Standards, whose resolution is readily achievable.

    iv.   The required number of accessible parking spaces is not provided, violating Section

          4.1.2(5a) and 4.6.1 of the ADAAG and Section 208.2.4 of the 2010 ADA Standards, whose

          resolution is readily achievable.

    v.    The plaintiff had difficulty exiting the vehicle, as an access aisle of the required width is

          not provided. Violation: There are accessible parking spaces that do not have compliant

          access aisles provided, violating Sections 4.1.2(5a) and 4.6.3 of the ADAAG and Section

          502.3.1 of the 2010 ADA Standards, whose resolution is readily achievable.

    vi.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

          located on an excessive slope. Violation: There are accessible parking spaces located on

          an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010

          ADA Standards, whose resolution is readily achievable.

   vii.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking space

          access aisles are located on an excessive slope. Violation: There are accessible parking

          space access aisles located on an excessive slope violating Section 4.6.3 of the ADAAG

          and Section 502.4 of the 2010 ADA Standards, whose resolution is readily achievable.

      B. Entrance Access and Path of Travel

    i.    The plaintiff had difficulty traversing the path of travel, as it was not continuous and

          accessible. Violation: There are inaccessible routes between sections of the facility. These

          are violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and


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          Sections 206.2.2, 303, 402 and 403, whose resolution is readily achievable.

   ii.    The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess

          of 2%. Violation: The path of travel contains excessive cross slopes in violation of Section

          4.3.7 of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is

          readily achievable.

   iii.   The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

          Violation: There are curb ramps at the facility that contain excessive slopes, violating

          Section 4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards,

          whose resolution is readily achievable.

   iv.    The plaintiff could not enter tenant spaces without assistance, as the required level landing

          is not provided. Violation: A level landing that is 60 inches minimum perpendicular to the

          doorway is not provided at accessible entrances violating Section 4.13.6 and Figure 25(a)

          of the ADAAG and Section 404.2.4 of the 2010 ADA Standards, whose resolution is

          readily achievable.

    v.    The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

          Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

          4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is

          readily achievable.

   vi.    The plaintiff had difficulty using ramps, as they are located on an excessive slope.

          Violation: Ramps at the facility contain excessive slopes, violating Section 4.8.2 of the

          ADAAG and Section 405.2 of the 2010 ADA Standards, whose resolution is readily

          achievable.


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   vii.      The plaintiff had difficulty on the path of travel at the facility, as ramps do not have

             compliant handrails violating Section 4.8.5 of the ADAAG and Section 405.8 of the

             2010 ADA Standards, whose resolution is readily achievable.

                                  COUNT II – ADA VIOLATIONS
                            AS TO GPT NW 42ND AVENUE OWNER II LLC
                             and RER OUTDOOR MARKETPLACE LLC.

             27.    The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   24 above as though fully set forth herein.

             28.    Defendants, GPT NW 42ND AVENUE OWNER II LLC and RER OUTDOOR

  MARKETPLACE LLC, have discriminated, and continues to discriminate, against Plaintiff in

  violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

  January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or

  less). A list of the violations that Plaintiff encountered during his visit to the Commercial Property,

  include but are not limited to, the following:

          A. Access to Goods and Services

     i.      There is seating provided at the facility that does not comply with the standards

             prescribed in Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA

             Standards, whose resolution is readily achievable.

          B. Public Restrooms

     i.      There are permanently designated interior spaces without proper signage, violating Section

             4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

             whose resolution is readily achievable.

    ii.      The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not


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          wrapped. Violation: The lavatory pipes are not fully wrapped or insulated violating Section

          4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

          readily achievable.

   iii.   The plaintiff could not use the accessible toilet compartment door without assistance, as it

          is not self-closing and does not have compliant door hardware. Violation: The accessible

          toilet compartment door does not provide hardware and features that comply with Sections

          4.17.5 and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA

          Standards, whose resolution is readily achievable.

   iv.    The plaintiff had difficulty using the locking mechanism on the toilet compartment door

          without assistance, as it requires tight grasping. Violation: The toilet compartment door has

          non-compliant hardware for disabled patrons, violating Sections 4.13.9, 4.17.5, & 4.27.4

          of the ADAAG and Sections 309.4, & 604.8.1.2 of the 2010 ADA Standards, whose

          resolution is readily achievable.

    v.    The plaintiff could not use the toilet seat cover dispenser without assistance as it is mounted

          at a location where the clear floor space to access it is not provided. Violation: The clear

          floor space provided at elements in the restroom violates the provisions of Sections 4.2.4

          and 4.27.2 of the ADAAG and Section 305.3 of the 2010 ADA Standards, whose resolution

          is readily achievable.

   vi.    The plaintiff could not transfer to the toilet without assistance, as the rear grab bar is

          missing and the side grab bar is not the required length. Violation: The grab bars in the

          accessible toilet compartment do not comply with the requirements prescribed in Section

          4.17.6 of the ADAAG and Sections 604.5 and 609 of the 2010 ADA Standards, whose


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          resolution is readily achievable.

   vii.   The plaintiff could not transfer to the toilet without assistance, as objects are mounted less

          than 12” above a grab bar obstructing its use. Violation: The grab bars in the accessible

          toilet compartment do not comply with the requirements prescribed in Sections 4.17.6 and

          4.26 of the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is

          readily achievable.

  viii.   The plaintiff could not use the toilet compartment without assistance, as one of the required

          size is not provided: Violation: The toilet compartments provided for public use at the

          facility are in violation of Section 4.17.3 and Figure 30(a) of the ADAAG and Section

          604.8.1 of the 2010 ADA Standards, whose resolution is readily achievable.

   ix.    The plaintiff could not use the lavatory counter without assistance, as it is mounted too

          high. Violation: There are lavatories in public restrooms with the counter surface mounted

          too high, violating the requirements in Section 4.19.2 and Figure 31 of the ADAAG and

          Section 606.3 of the 2010 ADA Standards, whose resolution is readily achievable.

    x.    The plaintiff had difficulty using the paper towels due to the roll not being located within

          a dispenser. Violation: Elements in the restroom are not readily accessible and usable by

          persons with disabilities, violating 28 CFR 36.211, whose resolution is readily achievable.

   xi.    The combination of urinals and water closets totals six or more fixtures without the

          provision of a compliant ambulatory toilet compartment. Violation: An ambulatory toilet

          compartment is required as prescribed in Section 4.22.4 of the ADAAG and Sections

          213.3.1 & 604.8.2 of the 2010 ADA Standards, whose resolution is readily achievable.

   xii.   The plaintiff had difficulty using the locking mechanism on the toilet compartment door


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          without assistance, as it is mounted too high and requires tight grasping. Violation: The

          toilet compartment door has non-compliant hardware for disabled patrons, violating

          Sections 4.13.9, 4.17.5, 4.27.3, & 4.27.4 of the ADAAG and Sections 309.3, 309.4, &

          404.2.7, & 604.8.1.2 of the 2010 ADA Standards, whose resolution is readily achievable.

  xiii.   The plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

          required distance from the side wall. Violation: The water closet in the accessible toilet

          compartment is mounted at a non-compliant distance from the wall in violation of Section

          4.17.3 and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards,

          whose resolution is readily achievable.

  xiv.    The plaintiff was exposed to a cutting/burning hazard because the lavatories outside the

          accessible toilet compartment have pipes that are not properly insulated. Violation: The

          lavatory pipes are not fully insulated outside the accessible toilet compartment violating

          Section 4.19.4 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010 ADA Standards,

          whose resolution is readily achievable.

   xv.    The plaintiff could not use the lavatories outside the accessible toilet compartment without

          assistance, as they are mounted too high. Violation: There are lavatories outside accessible

          toilet compartments in public restrooms with the counter surfaces mounted too high,

          violating the requirements in Section 4.19.2 and Figure 31 of the ADAAG and Sections

          213.3.4 & 606.3 of the 2010 ADA Standards, whose resolution is readily achievable.

  xvi.    The plaintiff could not use the lavatory outside the accessible toilet compartment without

          assistance, as the required knee clearance is not provided. Violation: There are lavatories

          outside the accessible toilet compartment that don’t provide the required clearances


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          violating Section 4.19.2 & Figure 31 of the ADAAG and Sections 213.3.4, 306.3, & 606.2

          of the 2010 ADA Standards, whose resolution is readily achievable.

  xvii.   The plaintiff could not use the soap dispenser without assistance, as it is mounted too high.

          Violation: There are dispensers provided for public use in the restroom, with controls

          outside the ranges prescribed in Sections 4.2.5, 4.2.6, and 4.27.3 of the ADAAG and

          Sections 308 & 309.3 of the 2010 ADA Standards, whose resolution is readily achievable.

 xviii.   The plaintiff had difficulty using the urinals as the rims are mounted too high. Violation:

          There are urinals provided for public use that do not comply with the standards set forth in

          Section 4.18.2 of the ADAAG and Section 605.2 of the 2010 ADA Standards, whose

          resolution is readily achievable.

  xix.    The plaintiff could not flush the toilet without assistance, as the flush valve is not mounted

          on the wide area. Violation: The flush valve is not mounted on the compliant side in

          violation of Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards,

          whose resolution is readily achievable.

   xx.    The plaintiff could not use the accessible toilet compartment without assistance, as the

          required clear floor space is not provided due to the door swinging into the area. Violation:

          Compliant clear floor space is not provided in the accessible toilet compartment, violating

          Sections 4.2.3, 4.22.2, & 4.22.3 of the ADAAG and Sections 304.4 & 604.8.1.2 of the 2010

          ADA Standards, whose resolution is readily achievable.

  xxi.    The plaintiff could not transfer to the toilet without assistance, as the side grab bar is not at

          the required location. Violation: The grab bars in the accessible toilet compartment do not

          comply with the requirements prescribed in Section 4.17.6 of the ADAAG and Section


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         604.5.1 of the 2010 ADA Standards, whose resolution is readily achievable.

                                 RELIEF SOUGHT AND THE BASIS

         29.     The discriminatory violations described in Counts I through II are not an exclusive

  list of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places

  of public accommodation in order to photograph and measure all of the discriminatory acts

  violating the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff

  further requests to inspect any and all barriers to access that were concealed by virtue of the

  barriers' presence, which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and

  equal enjoyment of the Commercial Business and businesses located within the Commercial

  Property; Plaintiff requests to be physically present at such inspection in conjunction with Rule

  34 and timely notice. A complete list of the Subject Premises’ ADA violations, and the remedial

  measures necessary to remove same, will require an on-site inspection by Plaintiff’s

  representatives pursuant to Federal Rule of Civil Procedure 34.

         30.     The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of

  public accommodation in order to determine all of the areas of non-compliance with the


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  Americans with Disabilities Act.

          31.     Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such efforts that may be necessary to ensure that no

  individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

          32.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

          33.     A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-


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  compliance with the Americans with Disabilities Act.

         34.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendant.

         35.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

  businesses, located at and/or within the commercial property located at 12691 NW 42nd Ave Opa-

  locka, Florida 33054, the exterior areas, and the common exterior areas of the Commercial

  Property and businesses located within the Commercial Property, to make those facilities readily

  accessible and useable to The Plaintiff and all other mobility-impaired persons; or by closing the

  facility until such time as the Defendants cure the violations of the ADA.

             WHEREFORE, The Plaintiff, CARLOS BRITO, respectfully requests that this

  Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

  of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

  42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or


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  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.

  Dated: January 19, 2022.                             GARCIA-MENOCAL & PEREZ, P.L.
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                                                       By: ___/s/_Anthony J. Perez________
                                                              ANTHONY J. PEREZ
                                                              Fl Bar No.: 535451
                                                              BEVERLY VIRUES
                                                              Fl Bar No.: 123713




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